                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION
UNITED STATES OF AMERICA,         )
                    Plaintiff,    )
                                  )
v.                                )                No. 07-00007-02/03-CR-W-FJG
                                  )
PHILIP F. CARDARELLA and          )
KATHERYN J. SHIELDS,              )
                      Defendants. )

                                          ORDER
       Currently pending before the Court is Government’s Motion in Limine to Exclude

Evidence or Testimony that the Defendants Were Selectively And/Or Vindictively

Prosecuted (Doc. No. 97).

       Government seeks to prohibit defendants’ Cardarella and Shields from introducing

or referring to the following evidence: (1) the defendants’ general claim that they were being

selectively and/or vindictively prosecuted; (2) the political affiliation of the defendants; (3)

the defendants’ claim that they are being singled out for prosecution because of their

political affiliation; (4) the terms “political witch hunt” or “political terrorism;” (5) any

campaign for public office undertaken by defendant Shields; (6) the existence of other

investigations of criminal conduct allegedly committed by defendant Shields; (7) the

circumstances and facts relating to the resignation of former U.S. Attorney Todd P. Graves;

(8) the circumstances and facts relating to the appointment of Bradley J. Schlozman as the

interim U.S. Attorney; (9) the defendants’ claim that the Department of Justice is in the

“midst of the worst corruption scandal in its history;” (10) the circumstances and facts

relating to the discharge of U.S. Attorneys in other districts; and (11) the circumstances and

facts relating to inquiries by Congress and the news media, including news media reports,



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relating to the discharge of U.S. attorney’s in other districts.

       Government argues all this evidence should be prohibited because the allegations

of vindictive and selective prosecution do not provide a factual defense to the charges.

Government also argues that a claim of vindictive prosecution is properly raised in a pretrial

motion to dismiss and not a permissible argument to the jury. See United States v.
Berrigan, 482 F.2d 171, 175 (3rd Cir. 1973); United States v. Dufresne, 58 Fed.Appx. 890,
895 (3rd Cir. 2003); United States v. Napper, 553 F. Supp. 231, 232 (E.D.N.Y. 1982).
Additionally, the Government notes that the circumstances relating to the resignation of
former U.S. Attorney Todd P. Graves is irrelevant to the factual issues of this case.
Moreover, the Government states that the defense claims of vindictive and selective
prosecution are also a personal attack on the integrity of the career prosecutors assigned
to this case.
       Defendants respond that granting the Government’s motion in limine would bar the

use of critical theories in this case. Specifically, defendants argue the motion in limine

would prohibit testimony that is highly probative to the state of mind of defendant Shields

and would preclude defendants from cross-examining federal agents and other witnesses

about crucial issues in this case. Defendants then set forth similar arguments made in their

motion to dismiss the indictment (Doc. No. 81), which was denied by this Court on May 29,

2007 (Doc. No. 154). Defendants state that at least nine transactions involving sellers

similarly situated to Shields and Cardarella have taken place and those sellers have not

been prosecuted.

       Further, defendants argue that even with the denial of their motion to dismiss,

evidence of vindictive and selective prosecution is relevant to the questions properly before

the jury. Defendants note there is no Supreme Court or Eighth Circuit law on this issue.

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Defendants also argue that the Government misunderstands the issue because defendants

will not ask the jury to find the indictment in violation of their due process and equal

protection rights, but rather will present evidence to the jury relating to defendants’ state

of mind, the motives and veracity of witnesses, and to provide context for the entire case.

For example, defendants argue they are entitled to cross-examine and impeach federal

agents on their motives in investigating defendant Shields because she was the subject of

previous failed investigations.

       The Eighth Circuit has held that the defendant must make a preliminary or threshold

showing of the essential elements of the selective prosecution defense before a district

court can great an evidentiary hearing or discovery. See U.S. v. Aanerud, 893 F.2d 956,

960-61 (8th Cir. 1990); U.S. v. Matter, 818 F.2d 653, 655 (8th Cir. 1987). Since this Court

previously held that defendants failed to make out a prima facie case of either vindictive or

selective prosecution, it follows that the defendants should be prevented from presenting

evidence relating to these claims at trial (Doc. No. 154). In addition, defendants failure to

establish the essential elements of selective or vindictive prosecution also precluded them

from having an evidentiary hearing or further discovery on this issue. Thus, it also follows

that such a failure should preclude defendants from presenting any evidence relating to

these claims at trial.

       The Eighth Circuit, however, has not addressed the legal issue of whether a

defendant may present evidence related to vindictive and/or selective prosecution at trial.

Thus, we examine the law in other circuits to see how this issue is resolved. In U.S. v.

Abboud, 438 F.3d 554, 579-80 (6th Cir. 2006), cert denied, 127 S. Ct. 446 (2006), the Sixth

Circuit upheld a district court’s granting of the Government’s motion in limine to prevent

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defendants from presenting evidence of selective prosecution. The court in Abboud upheld

the district court’s grant of the government’s motion in limine because “the defense of

selective prosecution is a matter that is independent of a defendant’s guilt or innocence,

so it is not a matter for the jury.” Id.; See also U.S. v. Simpson, 2007 U.S. App. LEXIS

11043, *2 (6th Cir. 2007)(upholding a district court’s decision to bar questions related to the

vindictiveness allegation at trial because it was irrelevant to the issue of guilt or innocence).

Although the court recognized the importance of exposing a witness’ bias, motive, or

prejudice, the court reasoned that the concept of witness bias and selective prosecution

are distinct as “selective prosecution is a separate and distinct claim that the defendant has

been unconstitutionally selected for prosecution.” Abboud, 438 F.3d at 580.

       The Third Circuit has also addressed this issue in U.S. v. Dufresne, 58 Fed. Appx.

890, 895 (3d Cir. 2003), cert denied, 538 U.S. 1064 (2003). In Dufresne, the defendant

claimed the district court improperly precluded him from proving vindictive prosecution to

the jury. The court disagreed with defendant’s claim because “a claim of vindictive

prosecution is not a permissible argument to the jury,” but rather properly raised in a pretrial

motion to dismiss. Id. (citing United States v. Berrigan, 482 F.2d 171, 174-76 (3d Cir.

1973). In Berrigan, the Third Circuit rejected an attempt by the defendants to introduce

evidence of discriminatory prosecution to the jury and explained:

       [Defendants’] argument misconceives the proper division of responsibility
       between judge and jury in a federal criminal proceeding. By both tradition
       and constitutional mandate the jury is given the responsibility of determining
       guilt or innocence according to the instructions of law delivered by the court.
       The question of discriminatory prosecution relates not to the guilt or
       innocence of [the defendants], but rather addresses itself to a constitutional
       defect in the institution of the prosecution.

Berrigan, 482 F.2d at 175. The Court agrees with the rule and reasoning adopted by the

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Sixth and Third Circuits. Therefore, the Court holds that defendants are not permitted to

present evidence relating to claims of vindictive and selective prosecution at trial.

       Additionally, in examining Fed. Crim. P. 12(b)(3), the rule specifically states that

certain motions must be made before trial, including motions alleging a defect in the

indictment or prosecution. Defendants properly made their timely motion before trial

alleging a defect in the indictment in their motion to dismiss the indictment (Doc. No. 81).

The Court denied the defendants’ motion on May 29, 2007 (Doc. No. 154). Therefore,

defendants already had their opportunity to allege defects in the indictment and prosecution

and they should not be afforded another opportunity to assert defects in the indictment or

prosecution at trial. The Court recognizes defendants’ right to cross-examine witnesses

and to reveal their bias or any improper motive. However, the Court finds that defendants

can still examine the motives of any witnesses on cross-examination without referring to

facts and allegations wholly irrelevant to defendants’ guilt or innocence.

       After reviewing the motion in limine, response, and reply suggestions, the

Government’s Motion in Limine to Exclude Evidence or Testimony that the Defendants

Were Selectively And/Or Vindictively Prosecuted (Doc. No. 97) is GRANTED.



IT IS SO ORDERED.



Date: 8/30/07                                    S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                            Fernando J. Gaitan, Jr.
                                                 Chief United States District Judge




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